           Case 5:18-cv-00949-XR Document 14 Filed 04/05/22 Page 1 of 3




               I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                      T H E W E ST E R N D I ST R I C T O F T E X AS
                              SA N A N T O N I O D IV I SI O N

    L I SA M C N U L T Y ,                            NO. 5:18-CV-00949-XR
    individually and as personal                         (consolidated with
    representative of the Estate of                      5:18-cv-00555-XR)
    T A R A M C N U L T Y , and as legal
    guardian of J .M . , a minor, and
    H A I L E Y M C N U L TY

    Plaintiffs

    vs.

    UNITED STATES OF
    AMERICA,

    Defendant



                                FINAL JUDGMENT

          Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF No.

584), by District Judge Xavier Rodriguez, and Plaintiffs shall recover from

the United States in the amount of:

             1. $3,945,022.81 for Hailey McNulty;1


1    After reviewing trial testimony, the Court finds that inflation and interest offset
     each other, resulting in a net discount rate of 0%. Therefore, of this amount,
     $145,169.73 represents the present value of reasonable and necessary future med-
     ical expenses Hailey McNulty will incur. The Government stipulated to
     $128,859.00 in lost earning capacity, which is split evenly between the two
     McNulty children. ECF No. 576 at 11 (stipulation); ECF No. 584, at 34 n.9 (Find-
     ing).

                                            Page 1 of 3
        Case 5:18-cv-00949-XR Document 14 Filed 04/05/22 Page 2 of 3




         2. $3,969,596.25 for Lisa McNulty, on behalf of J.M., a minor
            child;2

         3. $400,000 for Lisa McNulty, individually; and

         4. $7,000,000 for Lisa McNulty, as personal representative of
            the Estate of Tara McNulty.

      Plaintiffs shall file their bill of costs with this Court within 10 days of en-

try of this judgment, which are to be taxed against the United States.

      Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding

the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.3

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.




2   After reviewing trial testimony, the Court finds that inflation and interest offset
    each other, resulting in a net discount rate of 0%. Therefore, of this amount,
    $16,158.54 represents the present value of the reasonable and necessary future
    medical expenses that J.M. will incur until he reaches the age of 18. $168,025.89
    represents the present value of reasonable and necessary future medical expenses
    J.M. will incur after the age of 18. The Government stipulated to $128,859.00 in
    lost earning capacity, which is split evenly between the two McNulty children.
    ECF No. 576 at 11 (stipulation); ECF No. 584, at 34 n.9 (Finding).
3   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

                                         Page 2 of 3
 Case 5:18-cv-00949-XR Document 14 Filed 04/05/22 Page 3 of 3




SIGNED on this 5th day of April, 2022.




                         XAVIER RODRIGUEZ
                         UNITED STATES DISTRICT JUDGE




                               Page 3 of 3
